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 1   DANIEL M. ORTNER, No. 329866
     dortner@pacificlegal.org
 2   ETHAN W. BLEVINS, Wash. Bar No. 48219*
     eblevins@pacificlegal.org
 3   Pacific Legal Foundation
     555 Capitol Mall, Suite 1290
 4   Sacramento, CA 95814
     Telephone: (916) 419-7111
 5   Facsimile: (916) 419-7747
     Attorneys for Plaintiff Elizabeth Weiss
 6   *pro hac vice admission pending

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 8                             UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN JOSE DIVISION

11   ELIZABETH WEISS,                             No. 5:22-cv-00641-BLF

12                      Plaintiff,                   PLAINTIFF ELIZABETH WEISS’S
             v.                                          SECOND STATEMENT
13                                                       OF RECENT DECISION
     STEPHEN PEREZ, in his official
14   capacity as Interim President of San       Date: April 28, 2022
     Jose State University; VINCENT J.          Time: 9:00 a.m.
15   DEL CASINO, in his official capacity       Location: Courtroom 3, 5th Floor
     as Provost of San Jose State               Judge: Hon. Beth Lawson Freeman
16   University; WALT JACOBS, in his            Date Action Filed: January 31, 2022
     official capacity as Dean of the           Trial Date: TBD
17   College of Social Sciences at San Jose
     State University; ROBERTO
18   GONZALES, in his official capacity
     as Chair of the Department of
19   Anthropology at San Jose State
     University, CHARLOTTE SUNSERI,
20   in her official capacity as NAGPRA
     Coordinator at San Jose State
21   University, and ALISHA MARIE
     RAGLAND, in her official capacity as
22   Tribal Liaison at San Jose State
     University,
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                        Defendants.
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     P Weiss’s 2nd Stmt of Recent Decision       1
     No. 5:22-cv-00641-BLF
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 1          Pursuant to Local Rule 7.3(d)(2), Plaintiff Elizabeth Weiss submits this

 2   Statement of Recent Decision, calling the Court’s attention to a recent decision of the

 3   Eleventh Circuit Court of Appeals in Speech First, Inc. v. Cartwright, No. 21-12583,

 4   2022 WL 1192438 (11th Cir. April 21, 2022) (op. attached as Exhibit A). The decision

 5   was published after Professor Weiss filed her reply in support of her motion for

 6   preliminary injunction and her opposition to the Defendants’ motion to dismiss and

 7   addresses issues that may be relevant to Professor Weiss’s claims.

 8          DATED: April 22, 2022.
                                                Respectfully submitted,
 9
                                                DANIEL M. ORTNER
10                                              ETHAN W. BLEVINS
                                                Pacific Legal Foundation
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12                                              By _______s/ Daniel M. Ortner_________
                                                         DANIEL M. ORTNER
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                                                Attorneys for Plaintiff
14                                              Elizabeth Weiss
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     P Weiss’s 2nd Stmt of Recent Decision      1
     No. 5:22-cv-00641-BLF
       Case 5:22-cv-00641-BLF Document 71 Filed 04/22/22 Page 3 of 3



 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that on April 22, 2022, Opposing Counsel received the foregoing

 3   PLAINTIFF       ELIZABETH         WEISS’S   SECOND     STATEMENT       OF    RECENT

 4   DECISION via CM/ECF service.

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 6                                                   ________s/ Daniel M. Ortner________
                                                     DANIEL M. ORTNER, No. 329866
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     P Weiss’s 2nd Stmt of Recent Decision       2
     No. 5:22-cv-00641-BLF
